Case 2:16-cr-00383-RHW Document 2 Filed 06/07/16 Pagelof2 Page ID#:4

  

UNITED STATES DISTRICT COURT noe ee
CENTRAL DISTRICT OF CALIFORNIA riLED

CASE SUMMARY

 

Case Number CR 6- 0 3 83

 

U.S.A. v.. EDGAR HARO OSUNA

 

Indictment [_] Information

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[_] Class A Misdemeanor [_] Minor Offense [] Petty Offense
[_] ClassB Misdemeanor [_] Class C Misdemeanor [¥] Felony

b. Date of Offense 6/18/2011
c. County in which first offense occurred

 

Los Angeles County
d, The crimes charged are alleged to have been committed in:

CHECK ALL THAT APPLY

 

Los Angeles [_] Ventura

[_] Orange [_] Santa Barbara
[_] Riverside [J San Luis Obispo
[-] San Bernardino _] Other

Citation of Offense 18 USC § 1542; 18 USC §1028A

 

 

RELATED CASE

Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously
filed and dismissed before trial? No ["] Yes
IF YES Case Number

 

‘Pursuant to General Order 14-03, criminal cases may be related

if a previously filed indictment or information and the present

case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b, involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE

 

 

Investigative agency (FBI, DEA, etc.)

Defendant Number One 2016 JUN - 7_PéM I: 1g

Year of Birth 1972 CLERK He me
DSS CENTR AL D.

 

   

 

  

PREVIOUSLY FILED COMPLAINT

A complaint was previously filed on: N/A
Case Number N/A
Charging N/A

 

 

 

The complaint: [_] is still pending

[_] was dismissed on: '

 

PREVIOUS COUNSEL
Was defendant previously represented? No [_] Yes

IF YES, provide, Name:

 

Phone Number:

 

COMPLEX CASE

Are there 8 or more defendants in the Indictment/Information?
[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
UME TE INDICTMENT (S FILED IF EITHER "YES" BOX IS

Superseding Indictment/Information

iS THIS A NEW DEFENDANT? [] Yes No
This is the superseding charge, i.e. Ist, 2nd.

The superseding case was previously filed on:

 

Case Number
The superseded case:

 

[_] is still pending before Judge/Magistrate Judge

 

(_] was previously dismissed on
Are there 8 or more defendants in the superseding case?

L] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[_] Yes* No

 

 

CR-72 (06/14) CASE SUMMARY Page 1 of 2

 
Case 2:16-cr-00383-RHW Document 2 Filed 06/07/16 Page2of2 Page ID#:5

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

Was a Notice of Complex Case filed on the Indictment or
Information?

[] Yes No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

Is an interpreter required? [-] YES NO
IF YES, list language and/or dialect:

 

OTHER
Male [_] Female
U.S. Citizen [_] Alien

Alias Name(s)

 

 

This defendant is charged in: All counts

[-] Only counts:

 

[_] This defendant is designated as “High Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per

18 USC § 3166 (b)(7).
Is defendant a juvenile? [_] Yes No
IF YES, should matter be sealed? [[] Yes No

The area of substantive law that will be involved in this case
includes:

[_] public corruption

[_] tax offenses

[_] mail/wire fraud
immigration offenses

[_] financial institution fraud
[] government fraud

[J environmental issues

[_] narcotics offenses

[} violent crimes/firearms [_] corporate fraud

Other — Identity Theft

 

CUSTODY STATUS

Defendant is not in custody:

a. Date and time of arrest on complaint: N/A
b. Posted bond at complaint level on: N/A

inthe amount of $ N/A
c. PSA supervision? [] Yes [] No

d. Is on bail or release from another district:

N/A

Defendant is in custody:

a. Place of incarceration:

[_] State [] Federal

b. Name of Institution: N/A
c. If Federal: U.S. Marshal's Registration Number:

N/A

d.{_] Solely on this charge. Date and time of arrest:

N/A

e. On another conviction: [-] Yes No
IFYES: [_] State [_] Federal [_] Writ of Issue
f. Awaiting trial on other charges:: — ["] Yes No
IF YES: C] State [_] Federal AND

Name of Court:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district

20 21 40

pursuant to F.R.Cr.P.

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:

 

 

Date 06/07/2016

af,

T —

 

Signature of Asststaat U.S. Attorney
KATHY YU, Assistant U.S. Attorney
Print Name

 

CR-72 (06/14)

CASE SUMMARY

Page 2 of 2

 
